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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS


  CRISTINA NICHOLE IGLESIAS
  (a.k.a. CRISTIAN NOEL IGLESIAS),

      Plaintiff,
                                                       Case No. 19-cv-00415-RJN
          v.

  IAN CONNORS, et al.,

      Defendants.


                            DECLARATION OF JOSHUA M. KOLSKY

        I, Joshua M. Kolsky, make the following declaration, in accordance with the provisions of

 28 U.S.C. § 1746:

        1.         I am a Trial Attorney employed as a career civil servant by the Department of

 Justice, Civil Division, Federal Programs Branch. I am one of the attorneys representing the

 defendants in this litigation. I make this declaration based on my personal knowledge of the facts

 stated herein.

        2.         I have worked as an attorney or law clerk since graduating from law school in 2006.

 I have spent the majority of my legal career in public service, including serving as a law clerk to

 judges on the U.S. District Court for the Central District of California and on the U.S. Court of

 Appeals for the Ninth Circuit, working as an Assistant United States Attorney, and in my current

 position at DOJ, where I represent federal agencies and officials in a variety of civil litigation, in

 both defensive and affirmative postures. I have also worked as an associate at Gibson Dunn &

 Crutcher LLP and Cohen Milstein Sellers & Toll PLLC. I have a degree in Engineering Science

 from the University of Virginia and a law degree from Columbia University.
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        3.      I have never been sanctioned by any court. Prior to the Court’s February 10, 2022

 Show Cause Order, Doc. 187, I had never been identified in an order to show cause regarding

 sanctions. I take seriously my duties to the Court, including my duty of candor and my duty to

 refrain from taking action or making representations in a case for improper purposes such as delay.

 As in all other litigation in which I am involved, I have endeavored to adhere to the highest ethical

 standards in litigating this case. I believe that government attorneys such as myself, as public

 servants entrusted with significant responsibility, should be especially careful to strictly abide by

 all ethical and professional obligations. I believe this because, in my view, the public has a right

 to expect that their government is truthful, plays by the rules, and follows the law. As a

 government lawyer, I understand that my actions may impact how the public views DOJ and the

 federal government generally, so I strive to perform my job duties at the highest levels of

 professionalism.

        4.      I was assigned to this matter in July 2021, but I had very limited involvement until

 approximately September/October 2021 when I began to participate more actively on the case. I

 participated in drafting Defendants’ Opposition to Plaintiffs’ Motion to Compel Expedited

 Discovery (ECF No. 147); Defendants’ Motion to Strike Plaintiffs’ Reply in Support of Motion to

 Compel Or, in the Alternative, For Leave to File a Supplemental Declaration (ECF No. 154);

 Defendants’ Motion for Relief From Full Compliance with the Court’s October 15 Order (ECF

 No. 157); Defendants’ Status Report (ECF No. 161); Defendants’ Motion for Extension of Time,

 Nunc Pro Tunc, to File Answer (ECF No. 171); Defendants’ Answer (ECF No. 174); Defendants’

 Expedited Motion for Partial Reconsideration of the Court’s Preliminary Injunction Order (ECF

 No. 178) and supporting declaration; Notice in Compliance with December 27, 2021 Preliminary

 Injunction (ECF No. 183) and supporting declaration. I also participated in responding to



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 Plaintiffs’ document requests, helped to prepare Dr. Alison Leukefeld for testimony at the

 preliminary injunction hearing, and examined Dr. Leukefeld at the preliminary injunction hearing.

         5.      The Court’s Show Cause Order orders me, three other DOJ attorneys, and two BOP

 officials, to appear at a hearing to show cause “for their failure to adhere to the Court’s order dated

 December 27, 2021. (Docs. 176, 177).” The cited documents are the Court’s Preliminary

 Injunction and the related Memorandum and Order (collectively, the “PI”) in this case.

         6.      I have read the Show Cause Order several times, but it is unclear to me in what way

 I am alleged to have failed to adhere to the Court’s PI. The PI, by its terms, imposes certain

 requirements on “Defendants.” For example, the PI orders “Defendants to have the TEC meet to

 evaluate Iglesias’s request for GCS by Monday, January 24, 2022.” I am aware based on my

 reading of the Show Cause Order that the Court’s concerns relate to the decision rendered by the

 TEC at its January 24, 2022 meeting, but the TEC – not DOJ – ultimately determined what decision

 to make. Accordingly, I am not aware of anything I have done that failed to adhere to the PI.

 When providing legal advice to client agencies, including BOP in this matter, I would never

 knowingly endorse or advise a client to disobey or fail to comply with a court order, and I did not

 do so in this case.

         7.      In addition, I do not read the PI to restrict the decisions that the TEC could make

 and to require a binary choice of either (1) recommending gender confirmation surgery for Plaintiff

 immediately or (2) denying it in full. Instead, the PI ordered the TEC to meet to “evaluate

 Iglesias’s request for GCS by Monday, January 24, 2022.” My understanding is that the TEC did

 meet and did evaluate Plaintiff’s request for gender confirmation surgery on January 24, 2022, and

 thus complied with that requirement of the PI. The PI also orders Defendants to undertake various

 reporting requirements if certain conditions are met, but I have never understood those reporting



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 requirements to limit the decisions that the TEC could make. For these reasons, I believe BOP

 complied with the PI. Moreover, I am not aware of any reason to believe that the TEC made

 misrepresentations regarding its decision, withheld information, or that it reached the decision it

 did for purposes of misleading the Court or Plaintiff, or of delay.

        8.      The Show Cause Order also takes issue with testimony provided by Dr. Alison

 Leukefeld at the PI hearing. My understanding is that Dr. Leukefeld’s testimony was accurate

 with the exception of one piece of testimony which failed to distinguish between the process that

 BOP would follow for considering gender confirmation surgery requests from inmates housed in

 a secure prison facility and the process that BOP would follow for inmates housed in a halfway

 house. I was not aware of any inaccuracy in the testimony until the Court’s Show Cause Order. I

 am aware of no facts suggesting that Dr. Leukefeld intentionally provided inaccurate testimony,

 and I believe firmly that she did not.

        9.      The Show Cause Order states that I and my DOJ colleagues, “shall be prepared to

 discuss their representations in Docs. 100, 129, 130, 147, 157, 161, 178, and 183” at the February

 22, 2022, hearing.     Order at 6-7 (footnotes omitted).      I am not aware of any inaccurate

 representations or frivolous legal arguments in any of the cited documents. Three of those

 documents (Docs. 100, 129, 130) pre-date my participation in this case and, therefore, do not

 contain my representations.

        10.     I have not made any representations or withheld any information in the case for the

 purpose of misleading the Court or Plaintiff, or taken action of any kind for the purpose of delaying

 or multiplying these proceedings. I have no reason to believe that any other DOJ attorney working

 on this case has made any representations or withheld information in the case for the purpose of

 misleading the Court or Plaintiff, or taken action of any kind for the purpose of delaying or



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 multiplying these proceedings. Similarly, I have no reason to believe that any BOP employee has

 made any representations or withheld information in the case for the purpose of misleading the

 Court or Plaintiff, or taken action of any kind for the purpose of delaying or multiplying these

 proceedings.

        11.     Although the Show Cause Order states that “BOP waited until the last possible day

 to file its ‘Notice of Compliance with December 27, 2021 Preliminary Injunction,’” I did not delay

 filing that notice (Doc. 183). The TEC met on January 24, 2022 and I filed the notice one week

 later on the deadline set by the Court’s PI. The intervening week was necessary in order to prepare

 the filing and have it reviewed by supervisors within Federal Programs Branch, by senior officials

 in DOJ leadership, and within BOP. The documents to be filed were finalized on the afternoon of

 January 31, and I filed them that day.

        12.     As noted above, I endeavor to conduct myself in accord with the highest ethical

 standards in every case, including this case. That includes complying with all court orders, offering

 evidence that is accurate and complete, and presenting only well-founded factual assertions and

 legal argument. I regret that the circumstances of this case have caused the Court to doubt the

 government’s intentions in this matter, but I respectfully believe that everyone involved in this

 case has acted in good faith and endeavored to represent our client’s legitimate interests within the

 bounds of our ethical and professional responsibility obligations.

        I declare under penalty of perjury that the foregoing is true and correct. Executed on this

 14th day of February 2022 in Washington, DC.
                                                                       Digitally signed by JOSHUA
                                                  JOSHUA KOLSKY        KOLSKY
                                               _________________________________
                                                                       Date: 2022.02.14 20:27:18 -05'00'

                                                 Joshua M. Kolsky




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